 Case 3:13-cv-01071-K Document 143 Filed 01/31/16                 Page 1 of 3 PageID 12719



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE: DEPUY ORTHOPAEDICS, INC.                      )
PINNACLE HIP IMPLANT PRODUCT                         )       MDL No. 2244
LIABILITY LITIGATION                                 )
                                                     )       Honorable Ed Kinkeade
This Document Relates To:                            )
                                                     )
Aoki v. DePuy Orthopaedics, Inc., et al.             )
No. 3:13-cv-01071-K                                  )
                                                     )
Christopher v. DePuy Orthopaedics, Inc., et al.      )
No. 3:14-cv-01994-K                                  )
                                                     )
Greer v. DePuy Orthopaedics, Inc., et al.            )
No. 3:12-cv-01672-K                                  )
                                                     )
Klusmann v. DePuy Orthopaedics, Inc., et al.         )
No. 3:11-cv-02800-K                                  )
                                                     )
Peterson v. DePuy Orthopaedics, Inc., et al.         )
No. 3:11-cv-01941-K                                  )

    DEFENDANTS’ MOTION TO EXCLUDE CERTAIN EXPERT TESTIMONY OF
                 PLAINTIFFS’ TREATING PHYSICIANS

       The undersigned defendants respectfully move the Court to enter an order barring

plaintiffs from offering expert testimony from plaintiffs’ treating physicians about opinions that

extend beyond the scope of their treatment of the specific plaintiffs in these cases. The grounds

for defendants’ motion are set forth in the accompanying memorandum.

Dated: January 31, 2016                        Respectfully submitted,

s/ Michael V. Powell                           s/ Stephen J. Harburg
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Case 3:13-cv-01071-K Document 143 Filed 01/31/16   Page 2 of 3 PageID 12720




COUNSEL FOR DEFENDANTS DEPUY ORTHOPAEDICS, INC., DEPUY SYNTHES, INC.,
 JOHNSON & JOHNSON, JOHNSON & JOHNSON SERVICES, INC. AND JOHNSON &
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                                    2
 Case 3:13-cv-01071-K Document 143 Filed 01/31/16                  Page 3 of 3 PageID 12721



                                CERTIFICATE OF SERVICE

       I certify that on January 31, 2016, I filed this document using the Court’s Electronic Case

Filing (“ECF”) system, which will automatically deliver a notice of electronic filing to all

parties’ counsel of record, who are registered ECF users. Delivery of such notice of electronic

filing constitutes service of this document as contemplated by Rule 5 of the Federal Rules of

Civil Procedure. See LR 5.1.


                                                     s/   Stephen J. Harburg

                                                     Counsel for Defendants




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